Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 1 of 13




                        Exhibit P
                   Claim Chart re ’818 Patent
                   Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 2 of 13
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic



        US Patent 6,744,818 Versus Panasonic Cameras with H.264/AVC
                       Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 3 of 13
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic




1. A video encoding system comprising:


a visual perception estimator adapted to estimate a perception threshold for a pixel of a current frame of
    a videostream;


an encoder adapted to encode said current frame;


a compression dependent threshold estimator adapted to estimate a compression dependent threshold
    for said pixel at least from said perception threshold and information from said encoder; and


a filter unit adapted to filter said pixel at least according to said compression dependent threshold.




                                                                                                             2
                      Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 4 of 13
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

  Claim 1
              https://na.panasonic.com/us/audio-video-solutions/broadcast-cinema-pro-video/camcorders/ag-cx10-4k-
              compact-handheld-camcorder

A video
              The Panasonic camera records H.264 video using the “High Profile”:
encoding
system
comprising:




                                                                                                                    3
                        Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 5 of 13
    Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

    Claim 1
                 https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-H.264-200711-S!!PDF-E&type=items pg. 286
a visual
perception       The “High Profile” includes the use of bit_depth_luma and bit_depth_chroma:

estimator
adapted to
estimate a
perception
threshold
for a pixel of
a current
frame of a
videostream
;




                                                                                                                    4
                        Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 6 of 13
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

   Claim 1
                 https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-H.264-200711-S!!PDF-E&type=items pg. 40
a visual
perception       The “High Profile” includes the use of bit_depth_luma and bit_depth_chroma, which are used for the visual
                 perception estimator:
estimator
adapted to
estimate a
perception
threshold for
a pixel of a
current
                 {Note:
frame of a       “High Profile”,
                 and others}
videostream;




                                                                                                                             5
                      Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 7 of 13
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

       Claim 1
                   https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-H.264-200711-S!!PDF-E&type=items pg. 201 - 202
a visual
perception
estimator
adapted to
estimate a
perception
threshold for a
pixel of a
current frame
of a
                                                                 {Note: The threshold values of
videostream;                                                     alpha and beta are based on
                                                                 bit_depth parameters for both
                                                                 chromacity (symbolized by c) and
                                                                 luminance (symbolized by y), which
                                                                 is also shown on the next slide. }




                                                                                                                            6
                      Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 8 of 13
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

       Claim 1

a visual                                          Pg. 202         https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-
                                                                  REC-H.264-200711-S!!PDF-E&type=items
perception
estimator
adapted to
estimate a
                                                                                                           Pg. 67-68
perception
threshold for a
pixel of a
current frame
of a
videostream;




                                                                                                                     7
                     Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 9 of 13
  Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

  Claim 1
               http://www.fastvdo.com/spie04/spie04-h264OverviewPaper.pdf


an encoder
adapted to
encode said
current
frame;




                                                                                                          8
                       Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 10 of 13
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

      Claim 1
                      https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-H.264-200711-S!!PDF-E&type=items pg. 201 - 202
a compression
dependent
threshold
estimator
adapted to
estimate a
compression
dependent
threshold for said                                                {Note: Compression dependent
                                                                  threshold of alpha’ and beta’ are
pixel at least from                                               shown on next slide.}

said perception
threshold and
information from
said encoder;                                                    {Note: alpha and beta in “filterSamplesFlag” are
                                                                 generated by alpha’ and beta’ , as shown above.}
and


                                                                                                                           9
                      Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 11 of 13
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

      Claim 1

a compression                                                                                https://www.itu.i
                                                                                             nt/rec/dologin_p
dependent                                                                                    ub.asp?lang=e&
                                                                                             id=T-REC-
threshold                                                                                    H.264-200711-
                                                                                             S!!PDF-
                                                                                             E&type=items
estimator
                                                                                             Pg. 202
adapted to
estimate a
compression
dependent
threshold for said                                                                            {Note: The
                                                                                              values of
pixel at least from                                                                           IndexA and
                                                                                              IndexB from “0”
said perception                                                                               to “51” are for
                                                                                              the “QP” value
threshold and                                                                                 or “quantization
                                                                                              parameter”,
information from                                                                              which specifies
                                                                                              the level of
said encoder;                                                                                 compression.
                                                                                              See next slide}
and


                                                                                                           10
                      Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 12 of 13
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

      Claim 1

a compression                                                               https://slhck.info/video/2017/02/24/crf-guide.html

dependent
threshold
estimator
adapted to            https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-H.264-200711-S!!PDF-E&type=items pg. 201

estimate a
compression
dependent
threshold for said
pixel at least from
                                                                                                                    Pg. 202
said perception
                                                                                                                    {Note: The
threshold and                                                                                                       values “0” to
                                                                                                                    “51” specify the
information from                                                                                                    level of
                                                                                                                    compression. }
said encoder;
and


                                                                                                                                       11
                       Case 1:20-cv-04995-WMR Document 1-16 Filed 12/09/20 Page 13 of 13
   Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,744,818 by Panasonic

   Claim 1
                 https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-H.264-200711-S!!PDF-E&type=items
a filter unit
adapted to         {Note: “filterSampleFlag” is compression dependent threshold estimator for compression dependent
                   threshold of alpha’ and beta’, as shown on slide 11. }
filter said      G.8.7.4.2 SVC filtering process for a set of samples across a horizontal or vertical block edge …
pixel at least
                                                                                                             Pg. 498-499
according to
said
compression
dependent
threshold.




                                                                                                                      Pg. 202




                                                                                                                                12
